       Case 5:19-cv-00585-VKD Document 12 Filed 03/04/19 Page 1 of 2




                  CLAUDIA ECKELMANN
 1   Your name:

 2   Address:
                82 DIABLO VIEW DRIVE
                                                                                filed
     ORINDA, CALIFORNIA 94563                                           vw
 3
                                                                         ^ Mr O4 2019
 4
     Phone Number: (925) 969-2336
 5   E-mail Address:^!!^!!:^^!!*!:!^
 6   Pro se Plaintiff

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                   NORTHERN DISTRICT OF CALIFORNIA

10                      Division [check one]: • San Francisco • Oakland [Z! San Jose • Eureka
11

12
     CLAUDIA ECKELMANN                                                 5:19-cv-00585-VKD
                                                       Case Number:

                                                       NOTICE OF VOLUNTARY DISMISSAL OF

14                      Plaintiff,                     [check one]

15          vs.                                            [Zl THIS ENTIRE CASE
     HIGBEE AND ASSOCIATES
16                                                          n ONLY DEFENDANT [name]

17

18

19                      Defendant.
                                                             Virginia K DeMarchi

20

21           TO THE HONORABLE COURT, ALL PARTIES AND COUNSEL: 1am the Plaintiff in this
22   matter and pursuant to Federal Rule of Civil Procedure 41 (a)(l)(A)(i), 1voluntarily dismiss:
23           [Zl this entire case.

24           • only Defendant [name]
25           Such dismissal shall be without prejudice, with each si         r its own costs and fees.

26   Date: March 4, 2019               Sign Name:
27                                     Print Name:   Claudia Eckelmann
28


     NOTICE OF VOLUNTARY DISMISSAL
     Case No. 5:19-cv-00585-VKD                                                       _^[JDC TEMPLATE]
Case 5:19-cv-00585-VKD Document 12 Filed 03/04/19 Page 2 of 2
